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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW HAMPSHIRE



          United States of America
                                                        Crim. No. fl?- qg-/J7-/r-Jl




                                 ORDER ON VIOLATION OF CONDITIONS

                The defendant appeared before me on this date at a LASER
           Review Hearing. During the course of the hearing, the court
           determined that the defendant has violated the terms of the LASER
           Agreement/Order on Conditions of Release. As a result, the court
           enters the following order:              J?*, L*  OK *     fyH?*"!,

                    ^    The defendant shall be detained uafcLl     £\         .
                         At the conclusion of incarceration, defendant shall be:

                                  Brought before the undersigned judge.

                                  Released on f-^i^H.       \ , 9-0/1 at      D '• ^am/ojnS


cwfiw*"   s- f           Th^  defendant shall reside in HampsMiire House for a      jw-
                          period of         days/months to commence on             tr-^
                                              , and shall observe the rules of , lACtf*^*1^^
                          that facility.


                          The defendant shall be placed on home detention for
                                days/months, to commence on                  .
                          During this time, the defendant shall remain at his
                          place of residence except for employment and other
                          activities approved in advance by the probation
                          officer. The defendant shall maintain a telephone at
                          his place of residence without any special services,
                          modems, answering machines, or cordless telephones for
                          the above period. The defendant shall wear an
                          electronic device and shall observe the rules specified
                          by the Probation Office. The defendant shall pay for
                          the cost of electronic monitoring to the extent he is
                          able as determined by the probation officer.
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             The defendant shall be subject to the following
             additional or modified conditions:




        Prior conditions of release not inconsistent with this ordei
shall remain in full force and effect.


                                          SO ORDERED,


Date:        ihihL                        J o s e p h N. / L a p M m t e
                                          U n i t e d St/atesf D i s t r i c t   Judge




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